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                                                                                     Ironside Newark
                                                                           110 Edison Place, Suite 302
                                                                           Newark, New Jersey 07102
                                                                     Tel: 973.690.5400 Fax: 973.466.2761
                                                                                     www.rwmlegal.com


                                                     July 19, 2021

 VIA CM/ECF
 Hon. Lois H. Goodman, U.S.M.J.
 United States District Court
 Clarkson S. Fisher Building
 District of New Jersey
 402 East State Street
 Trenton, New Jersey 08608

        Re:     Oakwood Laboratories, L.L.C. v. Dr. Bagavathikanun Thanoo, et al.
                Civil Action No. 3:17-cv-05090 (PGS)(LHG)

 Dear Judge Goodman:

         This Firm, along with Buchanan Ingersoll & Rooney P.C., represents Dr. Bagavathikanun
 Thanoo, Auromedics Pharma LLC, Aurobindo Pharma U.S.A., Inc., and Aurobindo Pharma Ltd.
 (collectively, “Defendants”) in the above-captioned matter. We write to respectfully request
 Your Honor approve the withdrawal of our former co-counsel Michael A. Sitzman, Esq. and
 Jaysen S. Chung Esq.’s admission pro hac vice.

         Mr. Sitzman and Mr. Chung were admitted pro hac vice by order of this Court dated
 September 22, 2017 [ECF No. 23]. Mr. Sitzman and Mr. Chung are no longer assigned to this
 case. Accordingly, we respectfully request Your Honor approve Mr. Sitzman and Mr. Chung’s
 withdrawal as pro hac vice counsel for the defendants in the above-entitled case. Robinson
 Miller LLC and Buchanan Ingersoll & Rooney P.C. will continue to serve as counsel of record
 for the defendants.

         If this request is satisfactory, we would appreciate if Your Honor would “So Order” this
 letter and arrange for its entry on the docket by the Clerk of the Court.

        We thank the Court for its kind consideration.

                                                     Respectfully,

                                                     s/Keith J. Miller
                                                     Keith J. Miller

 KJM/bl
 Enclosure
